






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS


DELIA McDONALD,


                            Appellant,


v.


TORO HOMES, LTD., LLP, TORO
HOMES, GP, LLC, CHARLES J.
BROOKS AND CIRILA ALVEREZ,


                            Appellees.
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No. 08-09-00186-CV



Appeal from the


County Court at Law No. 4


of Dallas County, Texas


(TC# CC-07-11670-D)


MEMORANDUM OPINION


	Pending before the Court is a joint motion to set aside the trial court's judgment and remand
for entry of an agreed judgment pursuant to Tex. R. App. P. 42.1(a)(2)(B).  The motion is granted. 
We therefore set aside the trial court's judgment without regard to the merits and remand the cause
to the trial court for rendition of judgment in accordance with the parties' agreement.  We further
order costs be assessed against the party incurring same.


						GUADALUPE RIVERA, Justice


October 7, 2009


Before Chew, C.J., McClure, and Rivera, JJ.


